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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 YR Union LLC,

          Plaintiff,                                    Case No. 1:24-cv-10276

 v.                                                     Judge Sunil R. Harjani

 Tushbaby, Inc.,                                        Magistrate Judge Keri L. Holleb Hotaling

          Defendant.


                          DECLARATION OF ALLISON M. CORDER

        I, Allison M. Corder, declare and state as follows:

        1.       I am counsel of record for Defendant Tushbaby, Inc. (“Tushbaby”).

        2.       I have personal knowledge of the facts contained in this declaration. If called as a

witness, I could and would testify to the statements made herein.

        3.       I certify that attached as Exhibit A is a true and correct copy of the materials

submitted by Tushbaby to the U.S. Patent & Trademark Office on December 12, 2023 in support

of acquired distinctiveness in its trade dress registration (the “Trade Dress Application”).

        4.       These materials can be obtained from the U.S. Patent & Trademark Office’s online

Trademark Status & Document Retrieval database located at https://tsdr.uspto.gov/, i.e.,

https://tsdr.uspto.gov/documentviewer?caseId=sn98310767&docId=APP20231213153227&linkI

d=20#docIndex=19&page=1.

        5.       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

      Executed on November 15, 2024 in Chicago, Illinois
                                                                       /s/ Allison M. Corder
